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   6   Attorney for Plaintiff, GUADALUPE LLANERA
   7
   8
   9                                     UNITED STATES DISTRICT COURT
  10                                   CENTRAL DISTRICT OF CALIFORNIA
  11
  12   GUADALUPE LLANERA, an individual,                 CASE NO: 2:15-cv-07654-CAS-PJM

  13                                 Plaintiff,          STIPULATION AND REQUEST TO
                                                         DISMISS ENTIRE ACTION WITH
  14            and                                      PREJUDICE

  15   I.C. SYSTEM, INC.,
  16                                 Defendant.
  17
  18            Plaintiff, GUADALUPE LLANERA, and Defendant, I.C. SYSTEM, INC.,
  19   pursuant to Federal Rules of Civil Procedure, Rule 41(a)(1)(A)(ii) and through
  20   undersigned Counsel, hereby stipulate and request that the above-entitled action shall
  21   be dismissed with prejudice. Each party is to bear their own costs and attorney fees.
  22   IT IS SO STIPULATED:
  23   DATED: April 25, 2016                                  /s/ Therese S. Harris_________________
                                                              THERESE S. HARRIS, Attorney for
  24
                                                              Plaintiff, Guadalupe Llanera
  25
  26   DATED: April 25, 2016                                  /s/ Sean P. Flynn____________________
  27                                                          SEAN P. FLYNN, Attorney for
                                                              Defendant, I.C. System, Inc.
  28

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         STIPULATION AND REQUEST TO DISMISS ENTIRE ACTION WITH PREJUDICE
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   1                                       PROOF OF SERVICE
   2                   STATE OF CALIFORNIA, COUNTY OF SAN LUIS OBISPO
   3            I am employed in the County of San Luis Obispo, State of California. I am over
   4   the age of 18 and not a party to the within action; my business address is 935 Riverside
   5   Avenue, Suite 7B, Paso Robles, CA 93446.
   6            On April 25, 2016, I served true copies of the following document(s) described
   7   as follows:
   8                STIPULATION AND REQUEST TO DISMISS ENTIRE ACTION
   9                                        WITH PREJUDICE
  10            on the interested parties in this action as described as follows:
  11                                 SEE ATTACHED SERVICE LIST
  12
  13   [X]      BY CM/ECF NOTICE OF ELECTRONIC FILING: I caused said document(s)
                to be served by means of this Court’s electronic transmission of the Notice of
  14
                Electronic Filing through the Court’s transmission facilities, to the parties and/or
  15            counsel who are registered CM/ECF Users set forth in the service list obtained
  16            from this Court.

  17
  18
  19            I declare under penalty of perjury under the laws of the United States of
  20   America that the foregoing is true and correct.
  21
       DATED: April 25, 2016                                  /s/ Sarah H. Hoboy__________________
  22
                                                              SARAH H. HOBOY
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       Case #2:15-cv-07654-CAS-PJW                   2 of 3                         Llanera v. I.C. System, Inc.

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Case 2:15-cv-07654-CAS-PJW Document 15 Filed 04/25/16 Page 3 of 3 Page ID #:50



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       Case #2:15-cv-07654-CAS-PJW                3 of 3           Llanera v. I.C. System, Inc.

         STIPULATION AND REQUEST TO DISMISS ENTIRE ACTION WITH PREJUDICE
